         Case 1:21-cv-02769-TSC Document 62 Filed 01/09/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 DONALD J. TRUMP,

                 Plaintiff,

         v.                                                  Civil Action No. 21-cv-2769 (TSC)

 BENNIE G. THOMPSON, et al.,

                 Defendants.


                                            ORDER

       The NARA Defendants’ Unopposed Motion to Dismiss the Complaint as Moot, ECF No.

61, is hereby GRANTED. “If events outrun the controversy such that the court can grant no

meaningful relief, the case must be dismissed as moot.” Pulphus v. Ayers, 909 F.3d 1148, 1152

(D.C. Cir. 2018) (quotation omitted). The National Archives has “completed its production of

records responsive to the requests of the House Select Committee to Investigate the January 6th

Attack on the United States Capitol,” and “the Select Committee officially dissolved with the

end of the 117th Congress.” ECF No. 61 at 2. All parties “agree that the events described above

have rendered this case moot.” Id. Accordingly, with all parties’ consent, it is hereby

ORDERED that this action be dismissed as moot. This Order constitutes a final judgment under

Federal Rule of Civil Procedure 58.



Date: January 9, 2023

                                                 Tanya S. Chutkan
                                                 TANYA S. CHUTKAN
                                                 United States District Judge



                                           Page 1 of 1
